Case 1:21-cr-00399-RDM Document 140-4 Filed 06/21/23 Page 1 of 4




         Exhibit 4
      Case 1:21-cr-00399-RDM Document 140-4 Filed 06/21/23 Page 2 of 4




                        CERTIFICATE OF AUTHENTICITY PURSUANT TO
                           FEDERAL EVIDENCE RULE 902(13)/902(14)


        I, Kenneth W. Keller, attest, under the penalty of perjury by the laws of the United States

of America pursuant to 28 U.S.C. § 1746, that the information          contained in this certification   is

true and correct.

        I certify that the data described below is a true copy of the original, as shown by the

following:

        1.        1 have been employed as a Special Agent with the Federal Bureau of Investigation

(FBI) since 2007. I am currently assigned to the FBI Washington            Field Office, Northern

Virginia Resident Agency, where I supervise a team of Special Agents responsible              for

investigating organized criminal enterprises.      My experience as a FBI agent has included the

investigation of cases concerning organized crime and the use of computers and the Internet to

commit violations of fraud, computer intrusion, money laundering, and intellectual property

laws. I have received training and gained experience         in interviewing   and interrogation

techniques, arrest procedures,     search warrant applications,    and the execution of searches and

seizures.    I have received training and gained experience       in evidence collection and handling

procedures as well as forensic imaging and review of digital evidence.           I have personally

participated   in investigations   relating to a variety of federal felony offenses, including computer

intrusion, fraud, complex financial crimes, money laundering, and violent crime.

        2.        I am familiar with the process for imaging electronic devices and for ensuring that

the image is an accurate copy of the original, and for extracting particular records from electronic

evidence in a forensically and evidentiarily     sound manner; indeed, such imaging and extraction

is part of my training and responsibilities    at the FBI.




                                                      1
      Case 1:21-cr-00399-RDM Document 140-4 Filed 06/21/23 Page 3 of 4




        3.       In my capacity as an FBI supervisory        special agent, I was involved in the review

ofMt. Gox records.     Pursuant to an official request from the United States to Japan, Japanese

authorities provided a hard drive containing records of the virtual currency exchange Mt. Gox;

the hard drive contained an image file with the hash value 7f212523d20b753accdfe5009c62226e.

The hard drive was transferred to the custody of u.S. law enforcement           agents and have been

maintained by FBI securely and in adherence to established          FBI evidence-handling     procedures.

        4.       The hard drive contained a SQL I database consisting of records pertaining to Mt.

Gox users, including the users' registration   information, transaction      history, IP logs, and related

financial accounts.   These records can be retrieved through SQL database queries; for example, a

SQL database query for "user x" can produce all of the records for "user x" in the Mt. Gox SQL

database.    This SQL database query is an electronic process that produces an accurate result. I

have tested the SQL database queries for the Mt. Gox SQL database, including by comparing the

returns to the raw records in the database, and have confirmed that the retrieved information is an

accurate reflection of the records in the database.       At all times pertinent to the records certified

here, the process functioned properly and normally.

        S.       Upon a case team request, I accessed the Mt. Gox SQL database and used a SQL

database query to retrieve the records for the following user accounts:

                                     User ID                                   L02in
                 3a18748f-cc67-44e6-897a-7116eed28294                 volfprius
                 908f8feS-d8bb-4e7b-a7e9-d    1120c78bSb7             ros0987341870
                 a 16dSabe-2308-46ge-baf7-274cc4177ff9                peternfs
                 d70S7S09-c8a2-421 0-8cfb-afSl b049fb2a               kolbasa
                 ffOb 1ee6-1 afl-43ef-9a 19-6607 aeS 8cfSl            Aururnxchange


lSQL, or "Structured Query Language," is a programming language that is commonly used for
managing structured data held in databases, such as those used by financial institutions to sort
customer data. SQL allows database managers to create, retrieve, update, and delete information
stored in "tables," the core organizational unit of SQL databases.


                                                      2
     Case 1:21-cr-00399-RDM Document 140-4 Filed 06/21/23 Page 4 of 4




       6.     Those records are attached to this certification.   I certify that the attached records

are accurate reflections of the information contained in the Mt. Gox SQL database.




                                                                      s;! 7;202.~.
   Kenneth W. Keller                                                  Date
   Federal Bureau of Investigation




                                                  3
